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                 IN THE UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

ESTATE OF JORDAN BAKER, by and )
through administrator, JANET   )             No. 4:15-cv-3495
BAKER,                         )
                               )
           Plaintiff,          )
                               )             Hon. Judge Sim Lake
           v.                  )
                               )
JUVENTINO CASTRO, et al.       )
                               )
           Defendants.         )             JURY TRIAL DEMANDED




    PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT CITY OF
          HOUSTON’S MOTION FOR SUMMARY JUDGEMENT
 
 
 
 
 
 
 
 
 
 
       
       
       
       
       
       
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SUMMARY JUDGMENT EVIDENCE

        In support of this response, Plaintiff relies upon and incorporates herein by

reference the following evidence:

1.      Deposition Excerpts of Janet Baker – FILED UNDER SEAL

2.      Wireless Store Video

3.      Enlarged Wireless Store Video

4.      Castro Homicide Statement – FILED UNDER SEAL

5.      Castro Internal Affairs Statement – FILED UNDER SEAL

6.      Castro Grand Jury Transcript – FILED UNDER SEAL

7.      Deposition Excerpts of Juvenito Castro

8.      Selected Scene Photos – FILED UNDER SEAL

9.      Statement of Magnolia Martinez – FILED UNDER SEAL

10.     Autopsy Report – FILED UNDER SEAL

11.     Dr. Jonathan Arden Declaration & Exhibits

12.     Deposition Excerpts of Dr. Roger Milton – FILED UNDER SEAL

13.     Brian T. Weaver Declaration & Exhibits

14.     Deposition of Michael Dirden & Exhibit 2

15.     Stephanie Seguino Declaration & Exhibits

16.     Deposition of Lt. Brady

17.     Deposition of Lt. Becker

18.     Jonathyn Priest Report

19.     Deposition Excerpts of Jonathyn Priest

20.     Jonathan Priest Supplemental Report
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21.     Deposition of Bender

22.     Exhibit 4 from Investigator Torres Deposition (Scene Photo)

23.     Deposition Excerpts of Ofc. Menefee

24.     Andrew Scott Declaration & Exhibits

25.     Article, Making Race Salient: Trayvon Martin and Implicit Bias in a Not Yet
        Post-Racial Society, Cynthia Lee

26.     Article, Violence against Individuals and Communities: Reflecting on the
        Trayvon Martin Case – An Introduction to the Special Issue, Rebecca
        Toporek

27.     Deposition Excerpts of Brian T. Weaver

28.     Exhibit 2 to May Deposition

29.     Exhibit 8 to Bratton Deposition – FILED UNDER SEAL

30.     Exhibit 5 to May Deposition – FILED UNDER SEAL

31.     Lara Investigation File – FILED UNDER SEAL

32.     Exhibit 6 to Bratton Deposition – FILED UNDER SEAL

33.     Exhibit 7 to Bratton Deposition – FILED UNDER SEAL

34.     Exhibit 5 to Bratton Deposition – FILED UNDER SEAL

35.     Exhibit 9 to Bratton Deposition – FILED UNDER SEAL

36.     Dominguez Deposition

37.     Exhibit 3 to May Deposition

38.     Exhibit 4 to May Deposition

39.     Scott Deposition

40.     Exhibits 2-5 to Brady Deposition – FILED UNDER SEAL
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41.     COH 313, Hernandez Statement – FILED UNDER SEAL

42.     Complaint History at COH1121 – FILED UNDER SEAL

43.     Exhibit 4 to Castro Deposition

44.     Exhibit 6 to Castro Deposition – FILED UNDER SEAL

45.     Exhibit 5 to Castro Deposition – FILED UNDER SEAL

46.     1/3/14 HPD Bulletin

47.     2/4/14 HPD Bulletin

48.     2009-14 HPD Racial Profiling Reports

49.     Racial Profiling Gender Report (Ex. 8 to Bender Dep.)

50.     Salazar-Limon Shooting Investigation – FILED UNDER SEAL

51.     Bratton Report

52.     See Lorie Fridell, Explaining the Disparity in Results Across Studies
        Assessing Racial Disparity in Police Use of Force: A Research Note

53.     Coronado Investigation File – FILED UNDER SEAL

54.     Baker-COH 6306-6564 (Horace Investigation) – FILED UNDER SEAL

55.     Ex. 10 to Bender Dep. (Lara Summary) – FILED UNDER SEAL

56.     Seguino Dep

57.     McClelland Deposition

58.     Gaithe Deposition

59.     May Deposition

60.     Kutcha Deposition

61.     Bratton Deposition

62.     Baker-COH 9821-23 – FILED UNDER SEAL
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   I.       Nature and Stage of Proceedings

         Pending before the Court is Defendant City of Houston’s motion for summary

judgment. Defendant seeks summary judgment for all of Plaintiff’s claims against

it. Plaintiff contests summary judgment related to the Monell claims that the City

of Houston’s policies and practices resulted in the deprivation of Jordan Baker’s

rights to equal protection and to be free from excessive deadly force.


   II.      Issues to Be Decided

         A. Whether the City is entitled to summary judgment on Plaintiff’s equal
            protection Monell claim when a reasonable jury can conclude that the City
            of Houston’s widespread custom of exhibiting racial bias against black
            Houstonian’s during traffic stops was at work when Defendant Castro
            unlawfully stopped Jordan Baker on account of his being black?

         B. Whether the City is entitled to summary judgment on Plaintiff’s deadly
            force Monell claim when a reasonable can jury conclude that the City of
            Houston’s widespread custom of permitting officers to use deadly force
            with impunity and without any form of discipline was at work when
            Defendant Castro unlawfully shot and killed Jordan Baker?

   III.     Summary of Argument

         The City of Houston’s motion for summary judgment is just another act of

deliberate indifference to the widespread, statistically significant unlawful customs

that pervade the ranks of the Houston Police Department (“HPD”). The City

refuses—to this day—to even admit that Officer Castro’s treatment was problematic

or even disputed in any way. The parties, it seems, could not be further apart in

viewing the evidence and summary judgment record. The City has decided to simply

ignore, as if they do not exist, any contrary facts or inferences and seeks summary

judgment on the basis of facts it knows are hotly disputed.


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      The motion should be denied.

      Plaintiff has adduced sufficient evidence for a jury to find that the City of

Houston’s policies and practices were the moving force behind the violation of

Jordan Baker’s rights to equal protection and to be free of excessive deadly force.1

      As it concerns the equal protection claim, the evidence demonstrates that the

HPD has engaged in racially disparate treatment of black drives in pervasive and

statistically significant ways. The City produces yearly racial profiling reports

which document these disparities, but the City pretends these disparities simply do

not exist. The systemic, biased policing in the City of Houston contributed to

Castro’s treatment of Baker, and an unlawful traffic stop. Castro’s bias—something

well-cemented in the customs of the department—was on full display. Would a

Castro have treated Baker the same way if he were not black? Absolutely not, and a

reasonable jury could so find that was due to the City’s systemic bias.

      As it concerns the deadly force claim, the City has found that Castro’s

decision to shoot and kill an unarmed, half-naked, sandal-wearing citizen was

totally justified. That is despite the fact that Castro has fronted an entirely

preposterous version of events, including that Jordan Baker charged at an officer

pointing a gun at him. This was no surprise because the City’s widespread custom



1 Plaintiff does not pursue Monell claims against the City with respect to Plaintiff’s
Fourth Amendment excessive force claim concerning the non-lethal use of force or
under the Fourth Amendment for unlawful stops. The City’s motion for summary
judgment concerning the survival and wrongful death claims fail for the same
reasons explained in Plaintiff’s response to Defendant Castro’s motion, and that
discussion is incorporated by reference. Plaintiff does not advance any claims under
Texas law, either.
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was at work the very moment Castro pulled the trigger. Knowing he had killed an

unarmed person unjustifiably, Castro knew, in accordance with practice and

custom, all he needed to do was give a story that Baker gestured at him in order to

be deemed “justified.” Castro chose the “waistband” option and has been free of

department scrutiny, even despite the fact that more and more contradictory

evidence has come to light. That the City shows no interest in even trying to

reconcile Castro’s incredible account with the physical evidence and decided instead

to blindly credit the “waistband” excuse, is thus illustrative that the City’s customs

remain at work in this case. Between 2009 and 2014, every single officer involved

shooting was deemed justified. This was not a coincidence; it was by design. A

reasonable jury, examining (1) the statistical evidence, and (2) the litany of

similarly troubling shooting incidents involving unarmed suspects; (3) the City’s

faulty practices; (4) the City’s faulty practices at work in this case; and (5) the fact

that every single shooting between 2009 and 2014 was deemed justified could easily

conclude that (a) the City’s customs and practices were at work in this case; (b) that

these customs and practices that contributed to Castro’s unjustified killing of

Jordan Baker; and (c), as a result, that the City is liable here. Accordingly, the

City’s motion should be denied with respect to Plaintiff’s equal protection and

deadly force Monell claims.




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   IV.      Applicable Legal Standard

         For summary judgment, the initial burden falls on the movant to identify

areas essential to the non-movant’s claim in which there is an “absence of a genuine

issue of material fact.” Lincoln Gen. Ins. Co. v. Reyna, 401 F.3d 347, 349 (5th Cir.

2005). Summary judgment under Rule 56 of the Federal Rules of Civil Procedure is

only appropriate when the Court, viewing the record as a whole and in the light

most favorable to the nonmoving party, determines that there exists no genuine

issue of material fact and that the moving party is entitled to judgment as a matter

of law. See FED. R. CIV. P. 56; Celotex Corp. v. Catrett, 477 U.S. 317, 322-24 (1986);

United States v. Am. Commercial Lines, L.L.C., 875 F.3d 170, 173 (5th Cir. 2017)

(citing Robinson v. Orient Marine Co., 505 F.3d 364, 365 (5th Cir. 2007)). “A genuine

issue of material fact exists when the evidence is such that a reasonable jury could

return a verdict for the non-moving party.” Gates v. Tex. Dep’t of Protective &

Regulatory Servs., 537 F.3d 404, 417 (5th Cir. 2008). The burden is on the moving

party to make such a showing. See Adickes v. S.H. Kress & Co., 398 U.S. 144, 161

(1970).

         In seeking summary judgment, the moving party must accept as true the

opposing parties version of events in order assess whether, in the absence of factual

disputes, judgment as a matter of law is appropriate. Scott v. Harris, 550 U.S. 372,

380 (2007); cf. Ramirez v. Martinez, 716 F.3d 369, 374, 379 (5th Cir 2013) (looking

at the plaintiff’s “versions of the facts as supported by the summary judgment

record”); Tarver v. City of Edna, 410 F.3d 745, 753 (5th Cir. 2005) (“Any credibility



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determination made between the officers’ and [plaintiff’s] version of events is

inappropriate for summary judgment.”) (citing Bazan v. Hidalgo County, 246 F.3d

481, 492 (5th Cir. 2001); Carroll v. Ellington, 800 F.3d 154, 168 (5th Cir. 2015) (“If a

fact is not undisputed, we must ‘accept the plaintiffs’ version of the facts as true.’”)

(quoting Haggerty v. Tex. S. Univ., 391 F.3d 653, 655 (5th Cir. 2004) (a court’s

qualified immunity inquiry at summary judgment requires the court “accept the

plaintiff’s version of the facts (to the extent reflected by proper summary judgment

evidence) as true”)).

      Where disputes of material fact exist, they preclude the imposition of

summary judgment. Meadours v. Ermel, 483 F.3d 417, 423 (5th Cir. 2007) (“In order

to determine the reasonableness in the case at bar, several key factual disputes

must be resolved. . . . Given the necessity to determine these types of facts, this

dispute is material to the outcome of the case and the officers are not entitled to

summary judgment.”) (citing Flores v. City of Palacios, 381 F.3d 391, 399 (5th Cir.

2004)). Viewing the facts in the light most favorable to the nonmoving party applies

equally to more abstract factual disputes. See Tolan v. Cotton, 134 S. Ct. 1861, 1866

(2014) (emphasizing the “importance of drawing inferences in favor of the

nonmovant, even when . . . a court decides only the clearly established prong of the

[qualified immunity] standard.”) (citing Brosseau v. Haugen, 543 U.S. 194, 195 n.2

(2004).




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   V.       Relevant Facts

         A. The Jordan Baker Case

            1. Jordan Baker Was Stopped On Account of His Race and
               Castro’s Use of Deadly Force Against Baker Was Unjustified
               and Unlawful

         Regarding the facts surrounding Defendant Castro’s stop of Jordan Baker on

account of his race and Castro’s decision to shoot and kill Jordan Baker, Plaintiff

expressly incorporates the statement of facts, including the exhibits and record, in

the response to Defendant Castro’s Motion for Summary Judgment. See Dkt. 147, at

17-21.

            2. The City’s Policies Were At Work In The Aftermath of the
               Shooting

         After the shooting, Officer Castro met with his union attorney on the scene.

Ex. 7, Castro Dep. at 85-86. The met for about 20-30 minutes. Id. at 92. At that

point, as a matter of unwritten HPD custom and practice, Castro and his attorney

stood in a circle with HPD internal affairs officers, HPD homicide officers, and

others, to hear Castro’s story about the shooting. Id. at 97-99. This then involved a

walk-through of the scene, even as the “Crime Scene Unit” was still marking

evidence. See Ex. 8, (Select Photos); Ex. 17, Becker Dep. at 45-47; Ex. 16, Brady

Dep. at 55-61, 91.

         At that time, Castro told those in the circle that he stopped Baker, at least in

part, due to his race; that he ended up removing Baker’s sweatshirt; that he

immediately chased after Baker who ran behind the strip center; and that he shot

and killed Baker because Baker was charging directly at him from the grassy area

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past the alley and had reached for his “waistband” in the process, among other

things. Ex. 17, Becker Dep. at 46-50, 52-59; Ex. 16, Brady Dep. at 91-102; See Dkt.

147, at 17-21.

      That night, Castro went to the Department and, with his attorney, prepared

and signed a sworn statement concerning the incident. Ex. 16, Brady Dep. at 104-

106, 109. At the time, Castro had not seen the video from the surveillance store. Nor

did Castro or his attorneys have the autopsy results. He repeated the same story he

had told at the scene. Id. at 96.

      During the internal affairs division (“IAD”) investigation of the shooting

Castro was never personally interviewed. Instead, he submitted another statement.

By this time, though, Castro had seen the video from the wireless store. So, Castro

and his attorney decided to change his statement, to make it conform to the video,

including adding the fact that he and Baker interacted in the parking lot for more

than 30 seconds, as seen on the tape. Ex. 5, Internal Affairs Statement; Ex. 60,

Kuchta Dep at 19, 57-67. The fact that Castro changed his statement was never

raised as an issue in the investigative process at all—there is not one mention of it

in any document.

      The IAD process was designed to provide institutional support for Castro, not

to scrutinize his actions in any way. To that end, though two witnesses were

interviewed in the parking lot, investigators only included one of the witnesses in

their official summary because she painted Baker in a less-favorable light than the

other witness (who stated that Castro had an opportunity to use a TASER and the



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only thing that Baker did aggressively was swear at the officer). Ex. 9, Martinez

Statement. Likewise, IAD obtained the autopsy report from Jordan Baker’s

examination. The autopsy report directly contradicts Castro’s claim that Baker was

charging directly at him. This was of no moment for the HPD investigators because

they had already determined, before even receiving the report, that they would

credit Castro’s account, including his claim about the “waistband.” Ex. 60, Kuchta

Dep. at 106-110; Ex. 58, Gaithe Dep. at 36, 51-53, 65-68, 73. In addition, the

autopsy report indicated Baker had been badly injured outside of the gunshot

wound. This was never investigated. Finally, IAD took steps to affirmatively include

evidence in the file that, though it was unavailable to Castro at the time of the

shooting, supported Castro’s narrative. The most troubling example pertains to a

bulletin in the file concerning the armed robberies Castro cited. The bulletin that

Castro claims to have looked at states that all of the suspects all wore ski masks or

bandanas and did not include any pictures. Ex. 7, Castro Dep. at 280-81; Ex. 46,

1/3/14 HPD Bulletin. However, in their file, IAD investigators used a bulletin

generated after the shooting, and that did contain photos. Ex. 60, Kuchta Dep. at

97-101; Ex. 47, 2/4/14 HPD Bulletin. The fact that the file included as part of the

“investigation” evidence of incidents happening after the shooting was of no moment

to the IAD. Ex. 60, Kuchta Dep. at 97-101.

      Nothing changed as the IAD report made its way up the chain—no one ever

documented the fact that Castro had changed his statement, no one mentioned the

contradiction between the officer’s account and the autopsy report, no one



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investigated the non-fatal injuries, and the more “Baker-friendly” witness was

completely ignored. Unsurprisingly, HPD deemed the shooting justified.

      B. The HPD’s Systematic Bias Against Black Americans In Traffic
         Stops

             1. Houston Racial Profiling Reports Document Statistically
                Significant Racial Disparities

      Pursuant to state law, the City each year publishes “Racial Profiling

Reports,” which aggregate citywide stop data and document certain stop outcomes.

See Ex. 48, HPD Racial Profiling Reports for 2009-14. Between 2009 and 2014, each

one of those reports reflected significant disparities between black citizens and

those of other races, including obvious disparities with respect to the rate at which

drives are stopped relative to their share of the population. Id.

      Nonetheless, because the disparities were consistent from year to year, these

reports declare that there was no racial profiling or anything of the sort, even

though they were reflected in the data. Id. With these reports, the City would also

cherry-pick the post-stop data it would include. For example, though it was

understood that the “hit rate” is an important component of evaluating claims of

racial bias in policing, the City would only include that figure when it seemed

beneficial in some way. Compare Racial Profiling Analysis 2011, at 14 (including

the “hit rate”), and Racial Profiling Analysis 2012, at 13 (including hit rate), with

Racial Profiling Analysis 2013 (not mentioning the hit rate).




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             2. HPD’s Statistics Put Defendant on Notice, Well Before this
                Incident, that It Had a Significant Racial Policing Problem.

      In the five years leading up to the unlawful stop and subsequent shooting

death of Mr. Baker, HPD officers stopped black drivers at a starkly higher rate than

any other group. The objective data, compiled by the City of Houston itself, is

powerful evidence of race-conscious policing in Houston.

      This statistical data is stark evidence of a culture within HPD whereby police

officer stop and otherwise target black citizens in a manner different than those of

other races. Ex. 21, Seguino Dep. at 23-24; Ex. 24, Scott Supplemental Report at 5-

6. To be sure, the City has official policies prohibiting racial profiling. Ex. 21,

Bender 30(b)(6) Dep. (“Bender Dep.”) at 42-43, 58; Ex. 49, Ex. 8 to Bender Dep.

(Racial Profiling General Order). But, that is of no moment. Instead, in its

unwritten customs, HPD officers target black drivers. Accordingly, the issue is not

one of “a few bad apples,” but rather one that permeates the department despite

whatever its written policies say. Id.

      Pointing to its written policies, the HPD denies any allegation of racial

mistreatment. Ex. 21, Bender Dep. at 52. But the data paints a different picture.

From 2009-14, black drivers in Houston were stopped at statistically significantly

higher rates than those of other races.2 Ex. 15, Seguino CV, Seguino Amended




2See Ex. 15, Seguino Rebuttal Report at 2-5 for an explanation about how the share
of the population is calculated. One reason for examining stop data is because it
generates a statistically robust dataset, which generates a meaningful method for
establishing a baseline and examining police stops generally. Ex. 56, Seguino
Dep.at 65.
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Report (“Seguino Report”) at 4-5, 14-15. “Statistically significant” means that the

numbers cannot be attributed to chance. Id. This held true each year. Id.

      Stephanie Seguino, Ph.D., an economist and statistician, analyzed data from

HPD’s racial profiling reports. Ex. 15, Seguino CV, Seguino Amended Report

(“Seguino Report”) at 3; Ex. 48, HPD Racial Profiling Statistical and Comparative

Reports, 2009-2014. She found that, from 2009-2013, a black driver in Houston was

57% more likely to be stopped than a non-black driver. Black drivers were 239%

more likely to be stopped than Asian drivers. Id. at 7. Put differently, the data

indicate that, for African Americans, they make up 23.1% of the population, but

account for 32.7% of the City’s stops, and did so consistently over time. Id. at 4-5

      To examine the data further, Dr. Seguino constructed a disparity index,

which examines the proportion of over (or under) representation of any racial group

in a data set; this is a well-established and widely used method for examining

disparities. Id. at 5. The “disparity index” provides a useful way of observing

disparities over time and the data here showed consistent disparities:




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       Black and White + Hispanic Disparity Index: Ratio of Stop Rates to Population Shares

             1.6   1.47
                                 1.41                          1.45        1.42
                                                     1.39
             1.4                           1.33

             1.2

             1.0                              0.92                            0.89
                          0.90      0.91                0.91        0.90
                                                                                     Black
             0.8
                                                                                     White + Hispanic
             0.6                                                                     No disparity

             0.4

             0.2

             0.0
                    2009         2010      2011      2012       2013       2014


        Note: If a group’s share of all stops is equal to its share of the population, the disparity index
equals 1 (shown as the green (horizontal) line indicating no disparity

        The overall disparity index over the five year period is 1.4, which is

statistically significant. Ex. 56, Seguino Dep. at 36-37, 66-67, 41-48; Ex. 15, Seguino

Report at 6. To put that number into perspective, on the assumption that people

are stopped at roughly their proportional rate in the population, no disparity in

policing by race would generate a disparity index of 1. Ex. 15, at 4-5, 14-15.

        Concerning overrepresentation, and in the context of stop data, social

scientists often use a benchmark that a consistent disparity index over 1.1 is

statistically significant. The 1.4 index here demonstrates even more clearly that

blacks are stopped by HPD officers more frequently than other racial/ethnic groups.

Ex. 21, Seguino Dep.at 37-39, 67-68; Ex. 15, Seguino Report at 4-5, 14-15. That

conclusion is further reinforced by the fact that the disparity index is consistent for

each and every year, hovering at 1.4. Ex. 15, Seguino Report at 6-7.


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      But, that is not all. Racial disparities persist in the moments that follow the

initial stop, and serve to reinforce the strong inference of racial bias in policing. Dr.

Seguino then focuses on three different post-stop outcomes in the data: (a) those

who were released or warned, (b) those who were searched, and (c) arrests. After

mapping these groups out separately and over time, Dr. Seguino assessed the data

for “evidence of racial disparities.” Id. at 10. As it concerns those who were released

or warned, Dr. Seguino found a statistically significant disparity with Blacks being

released and warned more often. Id. Dr. Seguino recorded the scores of these tests

in her report. Id. at 10-11. As it concerns search rates, Seguino found racial

disparities here too, and across all years. Id. at 12. The same thing was true for

arrest between 2011 and 2014—black arrest rates were higher each year. Id. at 13.

      The post-stop outcomes of these stops reinforce Dr. Seguino’s disparity index

conclusion that the continuous disparity was not a result of chance, but was based

on a widespread culture within HPD. Black drivers were 203% more likely to be

searched than non-black drivers. Id. at 10, 12-13, 15; Ex. 15, Seguino Rebuttal

Report at 5-6; Ex. 56, Seguino Dep., at 123. Black drivers were 456% more likely to

be searched than Asian drivers. Ex. 15, Seguino Report at 10, 12-13, 15; Ex. 21,

Seguino Dep.at 123. This disparity is independently statistically significant. Id. at

10, 12-13, 15.

      The evidence demonstrates that despite the higher stop and search rate, a

higher percentage of black drivers were found not to have violated the law or to

warrant any further police action. Ex. 15, Seguino Report at 11; Ex. 15, Seguino



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Rebuttal Report at 8. In short, this data, which was also consistent over the years,

shows a statistically significant higher rate of stops of black drivers and a

statistically significant higher rate of searches that proved unwarranted. Ex. 56,

Seguino Dep.at 120-22. This strongly suggests that police were stopping and

searching many black drivers without a valid reason to believe that they were

violating the law. Ex. 15, Seguino Report at 11-12, 15.

      The statistical significance of the data above is reinforced by: (1) the large

size of the disparities; (2) the consistent pattern across all indicators; and (3) the

consistency and persistence of the disparities across time. Ex. 15, Seguino Report at

15. These combined indicators demonstrate a strong inference of racial profiling. Ex.

15, Seguino Report at 15.

      Based on this substantial statistical dataset and analysis, a reasonable jury

can find that the data supports that black drivers are stopped on account of their

race, not due to chance. Ex. 15, Seguino Report at 4, 7. Similarly, a reasonable jury

can conclude that the data, known to HPD (since it was its own data), should have

triggered HPD to investigate the problem and take action. Id. at 7, 15.3




3Of additional interest is the fact that racial disparities continue in shooting data
as well. One half of all HPD shootings from 2009 to 2014 are of black citizens—
twice their share of the population. Ex. 15, Seguino Report at 19, 24, Ex. 56,
Seguino Dep.at 134; Scott Supplemental Report at 2. Black citizens are 2.5 times
more likely to be shot by HPD officers. Ex. 22, Scott Supplemental Report at 2.
Tellingly, HPD officers never used the excuse of “reaching for waistband/into a
pocket” as a reason to shoot a white person. Ex. 56, Seguino Dep.at 21. It routinely
did, however, for many black people, including Mr. Baker.

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             3. HPD Is Deliberately Indifferent

      As identified more fully above, the disparities demonstrated in HPD’s own

data support a finding that HPD has a custom and practice of allowing officers to

racially profile people of color in stops. Ex. 24, Scott Report at 23. Despite this

objective data, HPD took no action to address this disparity.

      Instead, HPD pretended that it had no disparity. Ex. 56, Seguino Dep. at 15-

16; Ex. 24, Scott Report at 23. In fact, HPD expressly claims that these numbers do

not show a pattern of racial profiling. Ex. 57, McClelland Dep. at133-34. This is

quintessential deliberate indifference. As Dr. Seguino points out, the results stand

in stark “contrast to the Houston Police Department’s conclusions drawn in its

annual Racial Profiling Statistical and Comparative Reports, 2009-2014.” Ex.15,

Report at 14. For example, the 2014 report states:

      The 2014 report reveals that there is no substantial, statistically
      significant evidence of racial profiling against any race/ethnic group
      represented in Houston…In conclusion, there exists neither evidence of
      systemic bias in practices of Houston police officers nor evidence that
      individual officers in the department have engaged in racial profiling.

Id. Similar statements are concluded in the reports each year. Id.

      But, the statements are false. For one, the reports do not actually include any

statistical analysis on the racial differences in stops and outcomes. Indeed, when

one reads the reports critically, it is absolutely unclear how the HPD can report,

year after year, that blacks are stopped in substantially higher percentages than

their proportional share of the population and still reach the conclusion that there

is “no evidence” of any bias. And, the reports themselves are the very “evidence” of

bias that the reports proclaim does not exist.

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       In response to the data, the City admits that from 2009-2014 it did nothing to

address these numerical disparities because it claims that they are of no

significance. Id. at 16; Ex. 15, Seguino Rebuttal Report at 4-5. Bender Dep.at 51-52;

Ex. 24, Scott Report at 23, Scott Supplemental Report at 5-6. At a minimum, if the

City were not deliberately indifferent, it would actually investigate these issues.

But, it did not.

       A reasonable jury can find that the identified custom, culture, and norms

within HPD, to year-after-year target black citizens for more police action, informed

Castro’s actions when he shot Mr. Baker. Ex. 15, Seguino Rep. at 24; Ex. 21,

Seguino Dep.at 85-86, 195-200. To underscore that point, in investigating Castro

HPD did not ever investigate whether Castro improperly targeted Baker based on

his race. Ex. 58, Gaithe Dep. at 30, 46.

       C. HPD Permits Officers to Use Deadly Force No Oversight and
          Encourages Unlawful Uses of Force By Creating Structures
          Designed to Conceal Contrary Evidence And Make Every
          Shooting Appear Justified

              1. HPD has a practice of not investigating or disciplining
                 officers for excessive use of deadly force.

       HPD has a long-term practice of not subjecting its officers who use deadly

force to any real scrutiny, thereby encouraging HPD officers to use deadly force

without any concern for their constitutional obligation to only use it as a last resort

when an officer reasonably believes that doing so is necessary to protect the officer

or others. See Tennessee v. Garner, 471 U.S. 1, 3 (1985); Flores v. City of Palacios,




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381 F.3d 391, 399 (5th Cir. 2004); Hatcher v. Bement, 676 F. App’x 238 (5th Cir.

2017).4

      As above, evidence support that the culture of the department is far different

from what the written policies would suggest. Plaintiff understands that the City

has formal, written policies governing Internal Affairs Division (“IAD”)

investigations of rule violations for excessive force, and that it has written “Use of

Force” General Orders, described as are G.O. 600-17 (use of force) and 200-03

(employee misconduct). See Ex. 59, May 30(b)(6) Dep. (“May Dep.”) at 8-12; Ex. 28,

(G.O. 200-03) Ex. 2 to May Dep.; Ex. 37, (G.O. ), Ex. 3 to May Dep.; Ex. 38, (G.O. on

HPD Use of Force) Ex. 4 to May Dep. Here, again, it is not the written policies that

make up the claim, but the unwritten customs that underlie them.

      IAD investigations are conducted to determine if an officer violated HPD

policy. Ex. 59, May Dep. at 14-15, 52, 54; Ex. 60, Kuchta Dep. at 24, 29, 32-33; Ex.

58, Gaithe Dep. at 28-29; Ex. 61, Bratton Dep. at 203. At all relevant times, IAD is

responsible for investigating any HPD police shooting incident.5 Ex. 59, May Dep. at




4 A different way to state the issue would be that the City is so willing to credit any
hunch or minor concern as a “significant threat of death or serious physical injury”
that they have effectively lowered the standard so far that all an officer needs to
do—at a level lower than even a Terry stop—is articulate some suspicion about
feeling “threatened” and they will be justified. The Department, of course, has
ready examples it will accept, many of which (like “reaching for the waistband”) are
often impossible to verify and extremely difficult to contest.
5 For non-shooting citizen complaints against an officer, the citizen has to sign a

“sworn statement.” Ex. 59, May Dep. at 18-19. For all excessive force complaints
during the relevant time frame, only 15 officers were disciplined based on 706
complaints of excessive force. Ex. 24, Scott Report at 24-25.

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41-42. To accomplish that task, it is important for the IAD investigation to consider

all of the available evidence. Ex. 57, McClelland Dep. at 69-70, 92.

      Unlike other areas, shooting incidents there are only two categories of

findings—justified or not justified. Ex. 59, May Dep. at 37-38, 40, 55-56, 58-59; Ex.

57, McClelland Dep. at 101-102, 114. A justified finding means that the shooting

met the HPD policies and procedures. Ex. 59, May Dep. at 38. IAD does not look at

the history of complaints against an officer in deciding if a shooting is justified. Ex.

59, May Dep. at 63-64, 83. Nor has the HPD ever required an officer to undergo

additional training as a result of a shooting Ex. 59, May Dep. at 58. Put differently,

HPD addresses shootings as binary—they are either entirely justified or entirely

not—and does not take any steps to prevent shootings in the future (like retraining)

even where a shooting may be deemed justified but also preventable.6

      All IAD investigations go up the chain of command all the way to the chief of

police. Ex. 59, May Dep. at 27-31; Ex. 60, Kuchta Dep. at 33-34; Ex. 58, Gaithe Dep.

at 34, 103-104: Ex. 57, McClelland Dep. at 67. The chief ultimately makes every

disciplinary decision. Ex. 59, May Dep. at 31; Ex. 57, McClelland Dep. at 10, 13.




6The Lara shooting, described below, is a particularly salient example. There, a
community reviewer found the shooting justified but preventable. The reviewer
thought the officer should be given additional training, especially owing to the fact
that there were other officers there that did not shoot. See Ex. 31; Lara Shooting
Investigation at COH 8446-49 (Ex. 10 to Bender Dep.), (“I do not feel—based on the
events described—and the fact the Officer Hernandez did not fire her gun, that
officer McGown should have fired her gun on someone who was not point or near to
pointing a dangerous weapon toward her. . . . [B]etter training needs to be provided
to officers.” (underlined emphasis in original)). No such retraining was done or even
communicated to officer or training division. Ex. 21, Bender Dep. at 106-11.
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      For HPD police homicides, both the homicide division and the Internal

Affairs Division investigate, with the IAD investigation typically following. Ex. 59,

May Dep. at 16-18, 80-81. These investigations are not undertaken like typical

police investigations. Instead, they are full of procedures that leave gaps in the

knowledge of the investigators.

             a. The Unrecorded and Unauthorized “Walk-Through”

      Perhaps the most suspect procedure is the “walk-through” of the shooting

scene. This is a custom and policy—like the one alleged in this action—that is

completely unwritten. Ex. 59, May Dep. at 10-11; Ex. 28, (G.O. 200-03) Ex. 2 to May

Dep.; Ex. 37, (G.O.), Ex. 3 to May Dep. Specifically, under HPD’s “walk-through”

procedure a police officer who shoots someone does a near-immediate walk-through

of the scene with legal representation to explain the shooting while getting the

opportunity to examine the scene. Ex. 36, Dominguez Dep. at 37-41, 63-64, Ex. 17,

Becker Dep. at 18-21, 32-34; Ex. 16, Brady Dep. at 55; Ex. 61, Bratton Dep. at 94-

96, 202. This walk-through is not recorded. Id. Investigators recognize that an

officer who shot someone has an incentive in the walk-through to tell a version that

makes the shooting look justified. Ex. 17, Becker Dep. at 23-24; Ex. 57, McClelland

Dep. at 145-47. Defendants’ expert agrees that an officer who committed an

unjustified shooting has an incentive to lie to make the shooting look justified. Ex.

61, Bratton Dep. at 175-76. Despite this obvious incentive and plain opportunity for

contamination, HPD investigators do not record the “walk-through” or, indeed, any

conversation with an officer about a police shooting Ex. 16, Brady Dep. at 17, 165;

Ex. 61, Bratton Dep. at 96.
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             b. No Interviews of the Shooting Officer

      It is HPD policy to not gather any information until after the officer can talk

to a lawyer. Ex. 36, Dominguez Dep. at 62; Ex. 17, Becker Dep. at 34; Ex. 61,

Bratton Dep. at 94-95. An officer has 48 hours to consult with a lawyer before he

ever has to give any information in an investigation. Ex. 59, May Dep. at 17. Even

then, the officer in shooting cases is never formally interviewed or questioned orally.

      The HPD practice from at least 2009-14 was to give written questions to an

officer in a police shooting, and the officer had 48 hours to work with legal counsel

and provide written answers only—there was no live interview. Ex. 59, May Dep. at

20-22, 68-69; Ex. 28, Ex. 2 to May Dep.; Ex. 16, Brady Dep. at 15-16, 242; Scott

Supplemental Report at 4; Ex. 59, May Dep. at 68-9; Ex. 60, Kuchta Dep. at 74; Ex.

36, Dominguez Dep. at 62.

      Moreover, before asking written questions, investigators alerted the officer

involved in the shooting to all of the evidence that HPD has so the officer can

explain away the evidence in the written response. Ex. 59, May Dep. at 23. In the

event that an officer gives differing version of events (like here), HPD does not have

a requirement that the officer be examined. Ex. 59, May Dep. at 24-25. Although an

investigator could give follow up written questions, the same process would follow.

Ex. 59, May Dep. at 22. Obviously, this contrasts sharply with procedures for non-

police shootings, where HPD finds it important to conduct recorded interviews of

the shooter to have a record of their story. Ex. 16, Brady Dep. at 16-17, 229.




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      But not for police shootings. From 2006-2014, HPD policy and practice did

not allow interviews of an officer involved in a police shooting. Ex. 59, May Dep. at

10-12; Ex. 28, (G.O. 200-03); Ex. 2 to May Dep.; Ex. 37, (G.O. on HPD firearm

discharge), Ex. 3 to May Dep.; Ex. 38, (G.O. on HPD Use of Force), Ex. 4 to May

Dep.; Ex. 61, Bratton Dep. at 179, 199 (did not see any interview in reviewing 18

shooting investigations). This HPD policy and practice not to do a formal personal

interview was maintained even in circumstances in which HPD received evidence

contrary to the officer version of shooting. Ex. 24, Scott Report at 26, Scott

Supplemental Report at 3; Ex. 39, Scott Dep. at 204-05, 207-08; Ex. 59, May Dep. at

22, 68-69; Ex. 36, Dominguez Dep. at 62. HPD IAD sergeant Kuchta admits that it

is important to re-interview witnesses because people remember different things

over time. Ex. 60, Kuchta Dep. at 23. But HPD did not allow that for officers

involved in shootings.

             2. Statistically Significant—And Troubling—Shooting Data Reveals
                that Every HPD Shooting is Deemed Justified

      A reasonable jury could infer that the City’s customs concerning shootings

not only exist, but that they also encourage uses of deadly force, and they were at

work in Castro’s decision to shoot Jordan Baker and then claim he did so because

Baker was “reaching for his waistband.”

      To start, there statistically significant data supports such a finding. Plaintiff

obtained and analyzed data concerning every single police shooting by an HPD

officer between 2019 up until the January 2014 shooting of Jordan Baker by

Defendant Castro. Ex.15, Seguino Report at 17. Dr. Seguino created a dataset of


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every such incident by combining data from the Homicide Division and IAD (who

keep separate statistics). The number of incidents in the dataset is 194, and

excludes accidental shootings. Dr. Seguino examined patterns in the data,

specifically when it comes to the types of justifications offered by the officer(s)

involved, as compared against the sort of whether the suspect had a weapon, was

unarmed, or somewhere in between. Id. at 18. As reported in the HPD data, some

shootings had multiple justifications, which Dr. Seguino then aggregated into

mutually exclusive categories based upon the primary justification given. Id. at 19.

With the removal of 19 instances where additional suspects were not part of the

shooting removed, that data looks as follows:

      Aggregate Justification Related to Officer Assessment of Threat

         Aggregate                                      Number of    Frequency
        justification      Justification for UOF          UOF         as % of all
            code                                        incidents   justifications

                        Suspect fired or attacked
             1          officer or other person            71          33.2%

                        Suspect drew or revealed
             2          weapon                             78          36.4%

                        Suspect attempted to draw
             3          weapon                             11           5.1%

             4          Suspect gestured                   49          22.4%

             5          Other                              5            2.8%

      Note: Each category in this table is aggregated from the primary
      justification totals reported in Column 2 of Table 5. Category 1: Primary
      justifications 1-5, Category 2: Primary justifications 6-9, Category 3:
      Primary justifications 10-11, Category 4: Primary justifications 12-15,
      Category 5: Primary justifications 17-18. In 19 instances, additional
      suspects were recorded per incident that were not part of the UOF
      encounter. They are not included in the totals reported here.



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        Significant here, in 49 instances—or 22.4%—of the time, the officer’s

justification for shooting the suspect was not a weapon, an attack or anything like

that. Instead, it was some sort of gesture.

        Dr. Seguino also analyzed whether there were any statistically significant

trends concerning whether a suspect was armed or unarmed. There were.

Specifically, the data look like this:

                    Aggregate Categories of Justification by Unarmed/Armed

                                                        As percent of       As percent
                                    Number              justification     armed/unarmed

                                                                           (5)      (6)
                                (1)       (2)        (3)          (4)
                             Unarmed     Armed     Unarmed       Armed   Unarmed   Armed

 Suspect fired or attacked
  officer or other person      21            49     30.0%        70.0%    32.8%    32.9%

 Suspect drew or revealed
         weapon                 1            78     1.3%         98.7%    1.6%     52.3%

   Suspect attempted to
      draw weapon               2             9     18.2%        81.8%    3.1%     6.0%

    Suspect gestured           35            14     71.4%        28.6%    54.7%    9.4%

          Other                 4            0     100.0%         0.0%    6.3%     0.0%

          Total                63            150    29.6%        70.4%    98.4%    100.7%




Id. at 21.

        Notably, for the “suspect gestured” category, the percentage of cases in which

that primary category of justification was used when the suspect was unarmed was

71.4 percent (Column 3), with the remainder (28.6 percent) applied where the

suspect was armed (Column 4). Accordingly, a “gesture justification” is more



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frequently used as a reason for deadly force when suspects are unarmed, and the

difference is large and statistically significant. Id. As a subset of other gestures, the

“waistband” was invoked in 20 instances involving deadly force—and in 80% of

those occasions the suspect was unarmed. Id. at 23.

      The next step is to compare, of course, whether or not there were any

differential outcomes from an investigative process based upon the type of

justification involved. There were not. Instead, every single time—in 100% of HPD

police shootings in the dataset, City deemed the shooting to be justified. Ex. 59, May

Dep. at 36-37; Scott Supplemental Report at 3; Ex. 15, Seguino Report at 22; Ex. 24,

Scott Report at 23-25. This perfect rate of no discipline strongly indicates that HPD

has a course of conduct, custom and practice to allow officers who shoot to go

unquestioned and undisciplined. Ex. 24, Scott Report at 27, Scott Supp. Report at 3.

             3. There are Many Questionable, Troubling Deadly Force
                Incidents That The City Deemed Justified

      Relevant here, the 100% HPD justified shooting rate for its officers even

applied to all 81 shootings of unarmed citizens. Ex. 15, Seguino Report at 22. Thus,

regardless of whether there was documented unprofessional other conduct, or

questionable circumstances, HPD officers were always found justified in their uses

of deadly force, including among those who were unarmed. This figure supports an

inference that the City permits deadly force among its officers with impunity. Ex.

24, Scott Supplemental Report at 3.

      Indeed, Plaintiff is not merely relying on the statistical data alone—which is

powerful. But, there are a number of specific incidents in the same period of time


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that, especially given their notoriety and publication, both put the City on notice of

the issue and reveal the depth of the problem. These include:

      2/24/10: The Shooting of Steven Guidry. Mr. Guidry was shot in the neck

       during a traffic stop where the officer forcibly removed him from the car and

       then claimed he reached toward his waistband area, and where the officer

       claimed that in response to refusing to exit the car the officer claims that Mr.

       Guidry said “What are you going to do, shoot me?” Ex. 61, Bratton Dep. at

       134-140; Ex. 34, Ex. 5 to Bratton Dep. (Guidry investigation summary).

      5/25/10: The Shooting of Gene Horace. In another case involving the

       claim that the victim was reaching for a waistband, an officer shot an

       unarmed man in the back while he was running away. HPD found it justified

       based solely because the officer’s claim that the man reached for his

       waistband and despite the fact that Mr. Horace denied it. Like the Coronado

       Shooting, the City found the shooting justified even though it sustained two

       other charges against the officer. Ex. 61, Bratton Dep. at 150-54, 163-65, 304;

       Ex. 32, Ex. 6 to Bratton Dep., Horace investigation summary; Ex. 54, Baker-

       COH 006306-006564.

      10/30/10: The Shooting of Ricardo Salazar-Limon. Mr. Salazar-Limon

       was shot in the back by an HPD officer after a traffic stop where the officer

       claimed that Mr. Salazar-Limon was reaching for his waistband, while

       turning his body. Ex. 50, Salazar-Limon Shooting Investigation, Baker COH

       6565-6813.



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   2/9/11: The Coronado Shooting of the Ventura Brothers. In this

    instance, an officer who had been drinking at a bar and was legally

    intoxicated when he shot two unarmed citizens (killing one) after intervening

    in a situation outside of a bar. Ex. 24, Scott Supplemental Report at 3; Ex. 57,

    McClelland Dep. at 185-91; Ex. 61, Bratton Dep. at 181-83, 187-192, 238-240;

    Ex. 29, Ex. 8 to Bratton Dep. (Coronado shooting summary). The officer there

    (like here) claimed that one of the citizens was reaching for his waistband,

    thereby justifying the shooting. The City found the shooting justified despite

    the fact that the officer was intoxicated and committed other policy violations

    in the incident, crediting his account over other witnesses. Ex. 24, Scott

    Supplemental Report at 3; Ex. 53, Coronado investigation file; Ex. 59, May

    Dep. at 32-33; Ex. 30, Ex. 5 to May Dep.; Ex. 57, McClelland Dep. at 60-61;

    Ex. 61, Bratton Dep. at 117.

   7/9/12: The Shooting of Rufino Lara. The City also found justified the

    shooting by another officer of an unarmed man, Mr. Lara, for allegedly

    reaching for his waistband while he was walking away. Ex. 24, Scott

    Supplemental Report at 5; Ex. 31,Lara Investigation File; Ex. 21, Bender

    Dep. at 109, Ex. 55, Ex. 10 to Bender Dep.; Ex. 61, Bratton Dep. at 242-249.

    Two witnesses at the scene in that case rebutted the officer’s contention that

    Mr. Lara was reaching into his waistband—one saying that his hands were

    on the wall. Ex. 61, Bratton Dep. at 242-245. As noted above, at n. 6, though




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        reviewers had concerns about the instance, and suggested training HPD did

        absolutely nothing to provide any response.

       9/24/2012: Shooting at an Unknown Suspect. Another unarmed man was

        shot at while running from the police after stealing food from a food truck

        because the man allegedly reached for his waistband. He had committed no

        violent act and no weapon was actually seen or recovered. Ex. 61, Bratton

        Dep. at 264-70, 281-82; Ex. 62, Backer COH 9821-23. The City found the

        incident justified.

       12/12/14: The Shooting of Michael Walker. Mr. Walker was suspected of

        PCP use and had already been shot once after a traffic stop when he walked

        away from the officers, who claimed he was reaching in his jacket, after

        which Mr. Walker was shot again.

        In this litigation, Terry Bratton, a retired HPD officer disclosed as an expert,

has purported to analyze 18 shooting incidents, some of which are included above,

and many of which are controversial. See Ex. 51, Bratton Report at 3-14. Bratton’s

continued defense of every single one of these shootings—and the City’s handling of

them—is additional evidence of the problem addressed in the data here.7

        Whether it is “reaching for the waistband,” “turning away from the officer,” or

“erratic behavior” Houston Police officers are always deemed justified; and their

fears about weapons—even when proven wrong—are always credited by the



7Plaintiff’s contention is not, of course, that every single shooting of an unarmed
suspect was unjustified. Some of them plainly were. However, the flipside is true as
well: some of the shooting incidents, though deemed justified by the City, were not.
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department. A hunch or a suspicion about a weapon is always deemed reasonable.

Indeed, Mr. Bratton’s opinion suggests that the mere “inability of an officer to see

the suspect’s hands” can be sufficient to justify the use of deadly force. See 51,

Bratton Report at 3-14. This calloused, dangerous view—advanced by the City in

this litigation—actually amply support’s Plaintiff’s Monell claim.

      As evident by the frequent protests and publically expressed concerns about

the shooting of unarmed suspects in the City of Houston reveal, (see Scott’s Report,

for example), there are strong reasons to believe that the City’s practice of deeming

the decision to possibly end someone’s life always okay is actually just the

opposite—it is quite unreasonable. And, a jury could reasonably conclude that the

City has gone quite far afield. Cf. Lytle v. Bexar County, 560 F.3d 404 (5th Cir.

2009) (explaining that “the reasonableness of an officer’s conduct under the Fourth

Amendment is often a question that requires the input of a jury,” both because the

jury “must resolved disputed fact issues” and “because the use of juries in such

cases strengthens our understanding of Fourth Amendment reasonableness”).

             4. Universally Justifying the Shooting of Unarmed Suspects Is
                Extremely Troubling and Encourages Constitutional Violations

      Due to its reflexive, systemic efforts to deem every shooting by a police

officer—even drunk officers who have violated other department policies—the City

has encouraged constitutional violations. As Defendant’s police practices expert,

Michael Dirden, testified—HPD policies directly impact officer behavior, including

their exercise of discretion, on an individual level:




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      Q. So it should say my knowledge and review of the Houston Police
      Department’s internal directives lead me to conclude that they are
      more than sufficient to guide the behavior and performance of its
      officers and to control the discretion of its officers in a manner
      consistent with the standards of the profession?
      [Dirden] A. Correct.
      Q. Okay. And so it’s your opinion as expressed here that the Houston
      Police Department’s directives do guide the behavior and performance
      of police officers?
      [Dirden] A. Yes.

Ex. 14, Dirden Dep. at 81-82.

      What that means here, however, is that the City has encouraged unjustified

uses of deadly force by crediting, supporting, and facilitating erroneous policing. At

this juncture, given the data, there are two possible scenarios: (1) officers invoke a

“gesture” as a justification because they know it will be treated as accepted, or their

actual reason for the use of deadly force, or (2) Houston officers consistently

experience threat perception failure. See Seguino Report at 23. Threat perception

failures occur when an officer mistakenly perceives that a suspect is armed due to

the misidentification of a nonthreatening object … or movement. See Lorie Fridell,

Explaining the Disparity in Results Across Studies Assessing Racial Disparity in

Police Use of Force: A Research Note, 42 Am. J. Crim. Just. 502, 504 n. 1 (2017)

(citing George Fachner & Steven Carter, U.S. Department of Justice,

COLLABORATIVE REFORM INITIATIVE: AN ASSESSMENT OF DEADLY FORCE IN THE

PHILADELPHIA POLICE DEPARTMENT (2015)), attached as Exhibit 52. Plainly, neither

allowing officers to invoke inapplicable justifications to receive impunity nor

engaging in systemic threat perception failure is acceptable. Both encourage and

facilitate constitutional violations.

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      To elaborate, if officers know that all they need to say is that the suspect was

“fidgeting” or was “reaching for their waistband” in order to justify killing an

unarmed citizen, even where the officer’s account may contradict other evidence, the

lack of accountability is certainly directly linked with unjustified uses of force.

Likewise, on the other hand, if Houston officers are consistently invoking a concern

about the presence of a weapon that they feel justifies the use of deadly force, and

they are mistaken they have misjudged the situation in a serious way.

      At a minimum, the City should do something to consider why this

justification has been invoked, and question whether it is either some sort of false

excuse or gross misjudgment underlying the mistaken concern about a weapon. To

be sure, it makes little sense for an unarmed suspect to be “reaching for their

waistband” in any sort of dangerous way, and the fact that the person is unarmed is

circumstantial evidence that the officer has made a mistake. See Cruz v. City of

Anaheim, 765 F.3d 1076, 1077-80 (9th Cir. 2014) (“In this case, there’s

circumstantial evidence that could give a reasonable jury pause. Most obvious is the

fact that Cruz didn’t have a gun on him, so why would he have reached for his

waistband? Cruz probably saw that he was surrounded by officers with guns drawn.

In that circumstance, it would have been foolish—but not wholly implausible—for

him to have tried to fast-draw his weapon in an attempt to shoot his way out. But

for him to make such a gesture when no gun is there makes no sense whatsoever.”).

      The City of Houston has taken no steps to examine this issue critically.

Instead, the department (as it has in this case) has endorsed and defended every



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single deadly-force decision without taking any effort to pause; this conduct results

in a department atmosphere where constitutional violations are encouraged.

      Finally, it bears mentioning that the fact that the Houston Police

Department deemed every shooting between 2009 and 2015—almost 200 uses of

deadly force—justified in every instance is inconsistent with accepted police

practices indicating adequate measures of accountability. At best, it would be

“highly unusual” that all of the officer involved shootings were deemed either

accidental or justifiable. Id. Evaluating the totality of the evidence, including both

the troublesome investigation procedures and outcomes, the City “permits a course

of conduct, custom and practice that allows officers who are involved in shootings to

go relatively unquestioned and undisciplined, which is inconsistent with generally

accepted police practices and procedures. Id. at 27.

               5. HPD Refuses to Implement Accountability in its Investigations

      Despite finding 100% of its police shootings justified from 2009-2014,

including the one-third of the cases in which the victim was unarmed, HPD’s

shooting investigation policies and procedures did not change. Ex. 59, May Dep. at

34-36. In fact, HPD made no changes in policy or training between 2009-2014 to

address the problems in its investigation system – even after a lawsuit required it

to evaluate its system. Ex. 24, Scott Supplemental Report at 4-5; Ex. 59, May Dep.

at 70; Ex. 57, McClelland Dep. at 53, 64 (cannot recall any recommendations

stemming from looking at police shootings).

      In his decades of law enforcement experience, Plaintiff’s expert Andrew Scott

never saw another police agency internal investigation system that refused to even
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interview an officer in person. Ex. 24, Scott CV, Scott Report at 26. The failure to

require an in-person officer interview is inconsistent with generally accepted police

practices and procedures and fundamental homicide investigation procedures. Id. at

Scott Supplemental Report at 4. To put the lack of interview into perspective, HPD

does interview police officers when the issue is driving accidents, but it does not

when the issue is a citizen complaint or fatal police shooting. Ex. 7, Castro Dep. at

252-53. HPD shooting investigations are inadequate. Ex. 24, Scott Report at 25-27.

      Indeed, in his decades of work related to policing, Mr. Scott has never seen

another police agency that did not physically interview an officer who was involved

in a shooting, much less one that refused to conduct follow-up interviews with

officers who were involved in a shooting when there was a need for clarification of

facts. Ex. 24, Scott Report at 26.

             6. The City’s Customs and Practices Were At Work in The
                Investigation of Castro Here

      The HPD investigation of Defendant Castro was inadequate. Of course,

HPD’s IAD found Castro’s fatal shooting of Mr. Baker to be justified. Ex. 59, May

Dep. at 65; Ex. 57, McClelland Dep. at 179, 216-18. The same flaws in the police

shooting investigation identified above were also present in the Baker shooting

investigation.

      To start with, consistent with HPD practice, Castro was allowed to walk-

through the scene of the shooting with his lawyer, Aaron Suder, after meeting

others and discussing the shooting in a circle. Ex. 36, Dominguez Dep. at 42-49; Ex.

17, Becker Dep. at 45, 50-52, 103-104; Ex. 16, Brady Dep. at 84, 87.


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      Before and during the walk-through, Castro consulted Suder. Ex. 16, Brady

Dep. at 87-88, 99. At the beginning of the walk-through, Castro and Suder met with

investigators while standing in a circle in the mall parking lot. Ex. 16, Brady Dep.

at 83, 91; Ex. 40, Exs. 2-5 to Brady Dep. The walk-through happened before Castro

was required to give a written statement. Ex. 16, Brady Dep. at 57-58. The walk-

through was not recorded.

      After the walk-through, consistent with HPD practice, Castro drafted a

written statement with his lawyer. Ex. 16, Brady Dep. at 104-106, 109. Also

consistent with HPD practice, Castro was not interviewed; he only had to give a

written statement made in consultation with a lawyer. Ex. 7, Castro Dep. at 251.

Nobody asked Castro to supplement or give more complete answers for his written

statements. Id. at 257.

      HPD found Castro’s shooting to be justified even without any interview to

examine his story relative to the evidence. Scott Supplemental Report at 4; Ex. 59,

May Dep. at 34; Ex. 58, Gaithe Dep. at 59-60; Ex. 59, May Dep. at 22; Castro. Ex.

16, Brady Dep. at 16. This was true even though the homicide investigator received

the video of the scene after the initial statement from Castro, which should have

raised a number of concerns about Castro’s veracity. Ex. 16, Brady Dep. at 28, 76-

78, 115. Similarly, investigators did not even go back and ask Castro about

inconsistencies between the physical evidence (like the bullet path and the location

of the shooting) and Castro’s story. Ex. 24, Scott Report at 25-26, Scott




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Supplemental Report at 4; Ex. 39, Scott Dep. at 204-05, 207-08; Ex. 59, May Dep. at

24; Ex. 58, Gaithe Dep. at 39-40, 42, 67; Ex. 59, May Dep. at 23.

      The IAD investigators responsible for the Baker shooting investigation admit

that it is important to compare to the officer’s story to the physical evidence of an

autopsy, but the report was completed before the autopsy report was even received.

Ex. 60, Kuchta Dep. at 106-110; Ex. 58, Gaithe Dep. at 36, 73. The autopsy report

about the bullet path in Mr. Baker’s body is, therefore, not included in the IAD

investigation. Ex. 58, Gaithe Dep. at 51-53, 65, 67-68, 73. Had IAD bothered to

include the autopsy report, it would have revealed that the bullet path is

inconsistent with Castro’s account, which should be a cause for concern that needs

to be investigated. Ex. 61, Bratton Dep. at 136.

      Despite that obvious concern, the homicide investigator determined that

there was nothing to investigate about whether the bullet path was consistent with

Castro’s account. Ex. 16, Brady Dep. at 31-33. Nor did the investigator do any

additional probing after he received the autopsy report. Ex. 16, Brady Dep. at 145-

146, 210. Instead, he simply based his decision based on what Castro said

happened. Ex. 16, Brady Dep. at 108.

      Similarly, none of the investigators looked at Castro’s history of citizen

complaints to see if they might shed light on the incident. Ex. 16, Brady Dep. at

226-27. Instead, they simply concluded that “each case is individual.” Ex. 60,

Kuchta Dep. at 94; Ex. 58, Gaithe Dep. at 58-59, 85.




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      If they had looked, they would have seen that when Castro shot Mr. Baker,

Castro had a long history of excessive force and race-based complaints. At the time

of the shooting Castro had been investigated by IAD approximately ten times. Ex. 7,

Castro Dep. at 44-45, 70, 245-46. In the five years before he shot Mr. Baker, Castro

had five complaints for excessive force. Ex. 42, Complaint history at COH1121. The

complaints against him included:

      D.F. made a complaint that Castro choked him and slammed his head
      against a car in September 2008. Ex. 7, Castro Dep. at 249; Ex. 43, Ex.
      4 to Castro Dep. at 1210, 1244. Based on Castro’s denial in an
      administrative written statement (no interview), IAD did not sustain
      the complaint. Ex. 43, Ex. 4 to Castro Dep. at 1210-1212.

      C.R., and several neighborhood witnesses, complained that HPD
      officers, including Castro beat C.R., a black man, in November 2009.
      Ex. 44, Ex. 6 to Castro Dep. at 1296-97, 1372-82. C.R. released medical
      records, which included a nose fracture, to back up his complaint. Id.
      at 1340. Based on the written denials of the officers, IAD exonerated
      Castro. Ex. 44, Ex. 6 to Castro Dep. at 1300.

      In 2008, W.G. complained to HPD that Castro called him a “nigger
      lover” and a “fucking nigger.” Ex. 45, Ex. 5 to Castro Dep. at 1127,
      1161-72. Castro admits that he stopped W.G. because he thought he
      was disrespectful. Ex. 7, Castro Dep. at 261-62. But based on Castro’s
      blanket denial, IAD did not sustain the complaint. Ex. 45, Ex. 5 to
      Castro Dep. at 1127-28.

      From 2011-12, Defendant Castro shot and killed three animals while on duty.
      Ex. 42, Complaint history at COH1121.

      Castro was never disciplined based on a citizen complaint. His only discipline

was for having three car accidents (HPD actually interviewed him for that). Ex. 7,

Castro Dep. at 246-47. Moreover, Castro knows of nobody in his assignment who

was ever disciplined based on a citizen complaint. Ex. 7, Castro Dep. at 268-69.




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         HPD’s investigations of Castro for fatally shooting Jordan Baker were

consistent with HPD policy. Ex. 59, May Dep. at 34, 65; Ex. 14, Dirden Dep. at 56.

   VI.      A Reasonable Jury Can Find That Defendant City of Houston is
            Liable To Plaintiff Under Monell

         Municipalities are liable under § 1983 “when execution of a government’s

policy or custom, whether made by its lawmakers or by those whose edicts or acts

may fairly be said to represent official policy, inflicts the injury.” Monell v. New

York City Dept. of Social Services, 436 U.S. 658, 694 (1978). Monell and its progeny

are designed to guard against precisely the kind of municipal acquiescence to officer

misconduct as happened here. Monell, 436 U.S. at 691. Where a law enforcement

agency has tacitly authorized misconduct by failing to meaningfully train,

investigate, or discipline unconstitutional acts by its officers, a jury may find it

liable for Plaintiff’s injuries.

         Plaintiff may establish municipal liability under § 1983 by proving that Mr.

Baker’s constitutional rights were violated by an “action pursuant to official

municipal policy” or misconduct so pervasive among non-policymaking employees of

the municipality “as to constitute a ‘custom or usage’ with the force of law.” Monell,

436 U.S. at 691. The question is whether Castro’s misconduct was committed

pursuant to a policy or custom of the Houston Police Department that was the

“moving force” behind the constitutional violations. Piotrowski v. City of Houston,

237 F.3d 567, 578 (5th Cir. 2001) (citing Monell, 436 U.S. at 694); James v. Harris

County, 577 F.3d 612, 617-18 (5th Cir. 2009)).




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      A. The City is Liable for the Custom and Practices of the Department
         that Are Evident in This Record

      An “official policy” for Monell liability may be shown through “a persistent

widespread practice of city officials or employees, which, although not authorized by

officially adopted and promulgated policy, is so common and well-settled as to

constitute a custom that fairly represents municipal policy.” Lawson v. Dallas Cnty.,

286 F.3d 257, 263 (5th Cir. 2002) (quoting Webster v. City of Houston, 735 F.2d 838,

841 (5th Cir.1984) (en banc)); Zarnow v. City of Wichita Falls, 614 F.3d 161, 166

(5th Cir. 2010); James, 577 F.3d at 617-18. A cognizable policy for purposes of §

1983 liability may, therefore, be evidenced by custom “even though such a custom

has not received formal approval through the body’s official decisionmaking

channels,” Milan v. City of San Antonio, 113 F. App’x 622, 625 (5th Cir. 2004)

(quoting Monell, 436 U.S. at 691).

      Moreover, a custom may be shown by proof that “serious incompetence or

misbehavior was general or widespread throughout the police force.” Fraire v. City

of Arlington, 957 F.2d 1268, 1278 (5th Cir. 1992). It is hardly surprising that the

customs that Plaintiff alleges—condoning unlawful racial policing and failing to

control officer’s excessive use of deadly force—were never formally adopted. In

response to the City’s touting of its written policies, it is important to note: “the

existence of written policies of a defendant are of no moment in the face of evidence

that such policies are neither followed nor enforced.” City of St. Louis v. Praprotnik,

485 U.S. 112, 131 (1988).




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      Absent written policy, therefore, Houston may be liable if its policymakers

condone or otherwise adopt the creation of a custom by knowingly ratifying the

illegal or unconstitutional actions of subordinate, non-policymaking employees.

Santibanes v. City of Tomball, Tex., 654 F. Supp. 2d 593, 611 (S.D. Tex. 2109)

(citing Turner v. Upton County, 915 F.2d 133, 136 (5th Cir. 1990)). “A persistent,

widespread practice of officials or employees, which, although not authorized by

officially adopted and promulgated policy, is so common and well-settled as to

constitute a custom that fairly represents the municipal policy. Actual or

constructive knowledge of such custom must be attributable to the governing body

of the municipality or to an official to whom that body had delegated policy-making

authority.” Webster v. City of Houston, 735 F.2d 838, 841 (5th Cir. 1984) (en banc).

      This type of municipal policy is premised on the logical principle that the

municipal action, not what is on paper, is paramount: “If the decision to adopt [a]

particular course of action is properly made by that government’s authorized

decision makers, it surely represents an act of official government ‘policy’ as that

term is commonly understood.” Pembaur v. City of Cincinnati, 475 U.S. 469, 481

(1986). “More importantly, where action is directed by those who establish

government policy, the municipality is equally responsible whether that action is to

be taken only once or to be taken repeatedly.” Id. (emphasis added).

      B. A Jury Must Determine Whether The City’s Customs and Practices of
         Racially Disparate Policing Make the City Liable Here

      Under the Equal Protection Clause of the Fourteenth Amendment, state

actors are prohibited from denying “any person . . . the equal protection of laws.”


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U.S. CONST. AMD. XIV, § 1. It has long been recognized that a central purpose of the

Equal Protection Clause “is to prevent the States from purposely discriminating

between individuals on the basis of race.” Shaw v. Reno, 509 U.S. 630, 642 (1993).

      To prove an equal protection claim, Plaintiff need only demonstrate that

Defendant Castro singled out Jordan Baker for “disparate treatment and selected

his course of action at least in part for the purpose of causing its adverse effect on

an identifiable group.” Taylor v. Johnson, 257 F.3d 470, 473 (5th Cir. 2001).

However, “[r]acial discrimination need only be one purpose, and not even a primary

purpose, of an official action for a violation to occur.” United States v. Brown, 561

F.3d 420, 433 (5th Cir. 2009).

      Understanding the jury will be required to determine Castro’s liability on

this claim at trial, the only question is whether a reasonable jury could find for the

Plaintiff against the City on this claim. Plainly, the answer is yes.

      The City’s argument is that because (1) there are written policies against

racial profiling, (2) Plaintiff can cite to no custom, policy or practice that Houston

discriminated against African American individuals. Br. at 17-18. The argument,

which is woefully inadequate, fails.

      For one, Plaintiff’s claim is not about the City’s written policies. It is about

the customs and practices of the department that are unwritten but persist

nonetheless. And, Plaintiff does not bear the burden at summary judgment—the

City bears the initial burden.




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          Moreover, the City itself admits that race was a factor in Castro’s decision to

stop Baker. Id. at 19.8 The City seems to believe that Castro would have been

permitted to stop Baker the moment he biked into the strip mall, or, for that

matter, any black male wearing a sweatshirt at the strip mall that night. If that is

the City’s position, then there is no doubt that the stop was unconstitutional.

Indeed, it is precisely this sort of notion that, under the Equal Protection Clause,

the constitution prohibits.

          The City’s position is deeply troubling and, a reasonable jury could find that

it bespeaks systemic racial bias against black Americans.

          The City cannot show that no reasonable jury could find in its favor and that

it is entitled to judgment as a matter of law. Indeed, the City has just decided to

ignore the record evidence. And, while Plaintiff understands that the City need not

negate the elements of Plaintiff’s case, it must have a good faith basis for

contending that there is no evidence in support of Plaintiff’s claims. The City has

not done so.

          Plaintiff has disclosed two experts whose opinions go directly to the Monell

issues (Seguino and Scott), and Plaintiff fought long and hard to get discovery on

the City’s practices. See Dckt 75 and 94, Plaintiff’s motions to compel. The foregoing,

supra at 9-16, well describes the reason a reasonable jury could conclude that, as

happened with Jordan Baker, the City of Houston’s customs and policies were at

work in Castro’s decision to target him on account to his race.



8   Plaintiff’s counsel has confirmed that “face” at the top of page 19 should say “race.”

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      Indeed, the City does not and has not accounted for the statistically

significant disparities in the stop data in the city, and across a number of years, nor

has the City at all done anything to illustrate that the absence of a custom or policy

in the face of the data. Instead, the racial profiling reports—which attempt to mask

the disparities—are indicative of deliberate indifference.

      To be sure, there is no doubt that the evidence here is widespread enough

throughout the police force—that is precisely what the aggregate data is. And, there

can be no doubt that the City was aware of the figures in the reports—it produce

the reports and has the raw data to boot. In the end, as Dr. Seguino concluded, the

stark, pervasive, and mutually-reinforcing racial disparities in the City’s own data

and the City’s own failure to even take one step to investigate or cure those

disparities, strongly supports an inference of systemic racial bias in the

Department. Ex. 56, Seguino Dep. at 15-16, 200-02; Ex. 15, Seguino Rep. at 4, 7,

Seguino Rebuttal Rep. at 4-5; Ex. 24, Scott Rep. at 23. A jury must hear this claim.

      C. A Jury Must Determine Whether The City’s Customs and
         Practices of Permitting Officers To Use Deadly Force With
         Impunity, Even Against the Unarmed, Make the City Liable Here

      As it concerns Plaintiff’s custom or practice claim regarding the use of deadly

force, the City’s argument as the same as above—point to written policies, and then

claim Plaintiff has no evidence. This strategy is disingenuous. The City has again

ignored the summary judgment standard; has ignored the facts in the record; and

has ignored the extensive evidence Plaintiff produced.




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      But, Plaintiff has identified five categories of evidence that support his

custom or practice claim: (1) the statistical dataset concerning all shootings between

2009 and 2014; (2) an analysis of certain underlying shooting cases reflected in the

data; (3) identification of faulty practices that support Plaintiff’s claims; (4) evidence

that those practices were at work in this case; and (5) the fact that, in the end, 100%

of the analyzed shootings were deemed justified.

      First, as the City knows, Plaintiff’s expert created a dataset examining every

intentional police shooting in the years running up to the shooting of Baker by

Defendant Castro. The statistically significant results well-support Plaintiff’s

widespread practice claims and include the facts: that 100% of all shootings

analyzed were deemed justified; that there are statistically significant associations

with the treatment of armed versus unarmed victims; that the data reflect and

support an inference of threat perception failure; that the City has done nothing to

impose any discipline or even retraining in the wake of shooting incidents.

      Second, there are many troubling shooting incidents that took place in this

period of time that not only reveal these policies but also should have given the City

ample notice that the City was, and still appears to be, encouraging unnecessary

deadly force by treating their officers with impunity. In sum, the City permits and

encourages officers to invoke even the most minimal justification in order to receive

complete protection from the Department, which in turn fosters deadly force among

the ranks.




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      Third, the so-called shooting “investigations are flawed and include admitted

unwritten practices and customs (a fact supporting Plaintiff’s claims). The two

customs that stand out the most for fostering ineffective investigations were the

officer “walk-through” and the refusal to personally interview an officer on the

record about the shooting.

      HPD’s practice of allowing officers to conduct a “walk-through” of the

shooting scene with a lawyer allowed the officer to develop an exculpatory narrative

of the shooting. HPD did not record the evolution of the narrative developed in the

walk-through. This gave the officer the ability to see the evidence and begin to

explain it without going on record so that (like here) the officer could change that

narrative if other evidence arose (like a video of the incident). This is contrary to

accepted police practices. HPD’s own investigators admit that they would not

conduct regular police investigations this way—they want witnesses on record.

      Compounding this troublesome practice was HPD’s agreement to never

question an officer about what happened in the shooting. This meant that

inconsistencies were not explored or developed, and officers were not pressed on

them. HPD’s investigators were aware that this is not an effective police practice.

They would not conduct regular police investigations this way. HPD investigators

would also not expressly refuse to consider the history of a non-police officer who

committed a shooting. Yet, HPD investigators were adamant that each police

shooting is a “separate incident,” so that the investigators would never look at an




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officer’s history of citizen complaints, no matter how egregious, in evaluating the

shooting.

      Fourth, as discussed above, the treatment of Castro in this case is evidence

that the practices of the department are at work. That is, “a jury could look to the

City’s inaction in the face of Plaintiff’s own allegations of serious police misconduct

as evidence of the custom that existed prior to the shooting incident.” Monaco v.

City of Camden, 2008 WL 8738213, at *8-*9 (D. N.J. Apr. 14, 2008). Indeed, in

language that strikes a chord with Plaintiff’s Monell claims here, another court

explained that:

      Like its pre-incident conduct, Atlantic City’s post-incident conduct is
      relevant to whether it has a custom of condoning excessive force by its
      officers and whether it has a longstanding custom of conducting sham
      IA investigations designed to insulate police officers from discipline or
      criticism. “Events after a disputed incident often shed light both on the
      intent of participants, and on institutional or individual patterns of
      behavior.

Groark v. Timek, 989 F.Supp.2d 378, 398 (D. N.J. 2013); see also Grandstaff v. City

of Borger, 767 F.2d 161, 171 (5th Cir. 1985) (“If that episode of such dangerous

recklessness obtained so little attention and action by the City policymaker, the jury

was entitled to conclude that it was accepted as the way things are done and have

been done in the City of Borger. If prior policy had been violated, we would expect to

see a different reaction. If what the officers did and failed to do on August 11, 1981

was not acceptable to the police chief, changes would have been made.”). The same

is true here.




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       To be sure, Plaintiff’s claim is that the investigation was inadequate and

purposefully so; that this shooting fits into the widespread trend seen in the data;

and that the fact that Castro claims Jordan Baker reached for his waistband is

evidence that the policy is at work. The investigation into the Baker shooting is

relevant and a part of the claim here

       Finally, as a result of these problematic investigation practices, every single

one of HPD’s officer shootings from 2009-2014 was found to be justified, including

the one-third of which (i.e. 81) involved unarmed victims of the shootings. As

identified above, many of these shootings involved very troublesome facts, including

one incident that generated much public scrutiny of an intoxicated officer shooting

and killing a man for the offense of “reaching for his waistband” after an argument

in a bar. All of this is sufficient for a reasonable jury to find that the City’s practices

and customs were the moving force behind Castro’s actions that night.

       D. The City failed to Supervise, Discipline, and/or Train its Officers

       Compounding HPD’s custom of accepting both race-based policing and

unjustified police shootings (by pretending that they did not exist), Plaintiff claims

that the City of Houston failed to train or supervise its officers regarding race-based

policing and the excessive use of deadly force.

       Plaintiff can establish that Defendant City of Houston is liable here because:

(1) it had a custom of failing to supervise, discipline and/or train its employees; (2) it

maintained the custom with deliberate indifference to the risk it would result in the

violations of clearly established constitutional rights; and (3) the custom was the

moving force behind the constitutional violation here—the violation of Mr. Baker’s
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right to equal protection and to be free from excessive force. See Kitchen v. Dallas

Cty., 759 F.3d 468, 484 (5th Cir. 2014) (abrogated on other grounds); Roberts v. City

of Shreveport, 397 F.3d 287, 292 (5th Cir. 2005); Brown v. Bryan Cnty., 219 F.3d

450, 457 (5th Cir. 2000).

       Put another way, Plaintiff can establish Defendant City of Houston’s liability

for failure to supervise, discipline, or train by showing that HPD deliberately chose

not to supervise, discipline, or train its officers despite being on notice that its

supervision, discipline, and training supervising regimen failed to prevent tortious

conduct by its officers. See Gabriel v. City of Plano, 202 F.3d 741, 745 (5th Cir. 2000)

(citing Board of County Comm’rs of Bryan County v. Brown, 520 U.S. 397, 403

(1997)); Pineda v. City of Houston, 124 F. Supp. 2d 1057, 1078 (S.D. Tex. 2100). A

reasonable jury could find Defendant City of Houston liable as follows.

          1. HPD failed to discipline, supervise, or train officers regarding
             race-based policing

       The Equal Protection Clause prohibits selective enforcement of the law based

on race. Whren v. United States, 517 U.S. 806 (1996). Although it has a written

policy on the subject, HPD took no meaningful steps to discipline, train, or

supervise its officers to prevent selective policing based on race, even in the face of

its own data demonstrating the widespread racial disparity in police stops.

       Chief Bender admits that from 2009-2014, HPD did not institute any effort to

train its officers to address racially selective policing despite the year-after-year

data showing racial disparities in HPD officers stopping black people. Ex. 21,

Bender Dep. at 51. Only a jury can weigh whether this amounts to a failure to

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train.9 The same is true of the City’s failures to investigate or even acknowledge or

discipline any officer concerning racial profiling, as reflected in the City’s own

reports.

           2. HPD failed to supervise officers’ use of deadly force

       Based upon an intensive dataset of every shooting incident in the relevant

time period, Plaintiff has identified the significant police shooting investigation

deficiencies in Section V(C).

       The failure to adequately investigate instances of misconduct can

independently establish municipal liability: “continued adherence to an approach

that they know or should have known has failed to prevent tortious conduct by

employees.” Brown, 520 U.S. at 408. See also Piotrowski, 237 F.3d at 581-82

(acknowledging that failure to investigate and discipline police officers can be basis

of failure to supervise liability).

       Plaintiff intends to present both the evidence of the investigation

inadequacies described above and an explanation from law enforcement expert,

Andrew Scott, to explain the extent to which those inadequacies depart from

accepted police practices both in conducting investigations and also in controlling




Plaintiff recognizes that the City sends its officers to substantial state-law training.
But, that is of no moment here. Instead, it is the City’s own, personal data that
Plaintiff contends put the City on notice of a substantial problem with racial
disparities despite the training it had already implemented. Indeed, the City
appears to have adopted a form of an “early warning” system to alert it to racial
profiling and allow it to take corrective action—there is no evidence that the City,
despite the pervasive disparities—has implemented or used such a system. And,
Captain Bender testified to the contrary. See Ex. 15, Seguino Report at 16.
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officer behavior. Armed with that evidence, a reasonable jury could conclude that

HPD failed to supervise its officers.

       As it concerns the failure to discipline, Plaintiff will not repeat what was

made plain above, but a reasonable jury could easily conclude that Houston has

failed to adequately discipline its officers for their uses of deadly force. It simply has

not disciplined any such officers. And, it did so even in the most egregious of

situations where officers were drunk or had committed other violations of policy.

Indeed, as the walkthrough and process in this case reveal, the HPD process is not

designed to “discipline” an officer for shooting someone at all; it is a mechanism for

insulating and protecting uses of deadly force rather than scrutinizing them at all.

              4. HPD was deliberately indifferent in failing to train,
                 supervise, or discipline

       Plaintiff has sufficient evidence to take to a jury that HPD was deliberately

indifferent in failing to train, supervise, or discipline its officers. One way to

establish deliberate indifference is to demonstrate that a municipality had “[n]otice

of a pattern of similar violations,” which were “fairly similar to what ultimately

transpired” when the plaintiffs own constitutional rights were violated. Kitchen, 759

F.3d at 481 (citing Sanders-Burns v. City of Plano, 594 F.3d 366, 381 (5th Cir.

2010)). See also Connick v. Thompson, 563 U.S. 51, 62 (2011) (pattern of similar

constitutional violations can establish notice of need to address). Moreover, the City

of Houston can be found to be deliberately indifferent if there is an obvious,

substantial risk to the public from its inaction. See Farmer v. Brennan, 511 U.S.

825, 843 (1994) (“[A] prison official [may not] escape liability ... by showing that,

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while he was aware of an obvious, substantial risk to inmate safety, he did not know

that the complainant was especially likely to be assaulted by the specific

[individual].”).

       There is sufficient evidence in the record to allow a reasonable jury to find for

Plaintiff on the basis that HPD policymakers were on notice for purposes of

deliberate indifference either because: (1) there was a known pattern of similar

misconduct; and/or (2) the risk of inaction was obvious.

              a. The City was on notice of racially disparate policing

       A jury could certainly find that HPD had notice of a widespread pattern of

racial disparity in its officers’ stops of black drivers. It generated the data that

demonstrated this notice. Even though HPD policymakers (incredibly) claim that

this data did not put HPD on notice of an actual pattern, at minimum it put them

on notice of the risk of unconstitutional misconduct by its officers.

              b. The City was on notice of inadequate police shooting
                 investigations, failure to discipline, and the likelihood of
                 unjustified shootings

       HPD policymakers were also on notice of a pattern of likely unjustified

shootings. Every police shooting investigation made its way to the Chief of Police.

       The Chief was, therefore, aware of the multiple incidents of questionable

police shootings. He was also aware that one-third of HPD’s police shootings were of

unarmed people. Officers routinely justified those shootings by claiming some

movement that allegedly appeared as if the citizens were reaching for non-existent




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weapons. A jury could find that the rate was so high that those explanations that

the Chief must have known them to be pre-textual.

       Coupled with those troublesome shootings was an investigation regimen that

was not designed to fully examine and evaluate the complete circumstances behind

police shootings. HPD policymakers were aware of those inadequate investigation

procedures because every investigation made its way through the chain of command

up to the Chief of Police, who was responsible for making the ultimate

determination of whether shootings were justified.

       The policymakers were, therefore, on notice of the pattern of similar

unconstitutional misconduct—excessive deadly force.10 They were also aware of the

deficient investigation and disciplinary procedures for police shootings. Knowledge

of each of these put HPD policymakers on notice of constitutional misconduct

and/or, at minimum, the risk of unconstitutional misconduct.

       E. A Reasonable Jury Can Determine That City’s Customs and Practices
          Were The Moving Force Behind the Violation of Jordan Baker’s Rights

       Finally, the above customs and practices—(a) of race-based policing, (b) the

encouragement of excessive deadly force, and (c) and failing to train and/or

supervise to prevent each) were the cause of the deprivation of Mr. Baker’s rights to

equal protection under the law and/or to be free of excessive deadly force. Only a

jury can determine the causation issue here. When a plaintiff alleges a “policy of

turning a blind eye and knowingly refusing to thwart the unconstitutional conduct

10Mr. Scott, Plaintiff’s police practices expert, has cited and discussed newspaper
articles about officer-involved shootings and about the absolute lack of discipline for
this reason as well. There can be no doubt that the HPD knew about these issues—
they were raised far and wide.
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of its police officers,” it is reasonable for a jury to infer that an officer engaged in the

misconduct “with the knowledge that the City would exact no consequence for his

actions.” Santibanes, 654 F. Supp. 2d at 614.

       At this stage, therefore, Plaintiff has enough evidence to present to a jury to

ask it to find causation based on the customs identified here. Id. (citing Grandstaff

v. City of Borger, Tex., 767 F.2d 161, 170 (5th Cir. 1985) (noting that if reckless

disregard for human life by police officers is “attributable to the instruction or

example or acceptance of or by the city policymaker, the policy itself is a repudiation

of constitutional rights,” and where police officers know that use of deadly force in

conscious disregard to the rights and safety of others will meet with the approval of

city policymakers, the moving force requirement is satisfied)).

       More specifically, Defendant Castro admits that he knew his conduct would

not be seriously questioned. He had never been questioned before by IAD when

citizens made multiple misconduct complaints against him. Moreover, he was not

disciplined in any of those cases—all he had to do was write out a blanket denial of

the conduct to avoid scrutiny. He also knew of no other officer who was ever

subjected to discipline based on these types of citizen complaints. In short, Plaintiff

will present evidence to the jury that Castro knew that based on the above customs

HPD was looking the other way and/or would have his back if someone from outside

HPD ever complained about his misconduct. A reasonable jury could find causation,

and only a jury can evaluate that issue.

   VIII. Summary Judgment is not Proper for Plaintiff’s Indemnification
      Claim

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      The City of Houston is correct that its ordinance requires it to indemnify its

employees for any judgment, attorney’s fees, and costs assessed against a covered

person for which it has an obligation to provide legal representation. Dckt. 112-20.

There is no limitation in that ordinance that limits Plaintiff’s ability here to invoke

that indemnification requirement. Nor has the City of Houston identified any.

      The City has ignored that third-parties have an interest in the underlying

indemnity, where applicable. See, e.g., Doe v. Texas Ass’n of Sch. Boards, Inc., 283

S.W.3d 451, 460 (Tex. App. 2009) (third party had standing to enforce indemnity

agreement). In addition, the City’s concern is premature, as there is not yet a

judgment. Courts across the country have recognized the importance of waiting

until a judgment is entered to rule on the issue of indemnification. See, e.g.

Netherlands Ins. Co. v. Main St. Ingredients, LLC, 745 F.3d 909 (8th Cir. 2014); Doe

v. City of Chicago, 360 F.3d 667, 672-73 (7th Cir. 2004). (“[w]e have warned

repeatedly against trying to resolve indemnity before liability,” the court held that

the district judge erred by ruling on the city’s responsibility for the tortious conduct

of its police officer “before the actual facts bearing on the issue were determined.);

Shapiro Sales Co. v. Alcoa, Inc., No. 4:06CV638 CDP, 2006 WL 2228987, at *3 (E.D.

Mo. Aug. 3, 2006) (“Where the controlling facts are unknown . . . resolution of the

duty to indemnify must await the facts. As one court noted, ‘[a] finding in the

underlying actions that [the defendant] is not liable would make this Court’s

determinations as to the duty to indemnify merely advisory opinions.’”) (internal

citations omitted).; Columbia Ins. Co. v. Tibbott, No. CV 11-1040, 2012 WL



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13027068, at *4 (D. Minn. July 24, 2012) (“[T]he duty to indemnify depends on a

finding of liability . . . . Thus, any ruling on the duty to indemnify is premature.”);

State Farm Fire & Cas. Co. v. McDonald Homes, Inc., No. CV 07-3982 (PAM/JSM),

2008 WL 11349773, at *3 (D. Minn. May 8, 2008) (denying motion for summary

judgment and holding that “a ruling on the duty to indemnify is in any event

premature.”); Fed. Ins. Co. v. Sammons Fin. Grp., Inc., 595 F. Supp. 2d 962, 979

(S.D. Iowa 2009) (Duty to indemnify “is often based on the actual facts which

establish liability…”).

      Because factual issues relating to Castro’s liability have yet to be resolved

and are questions of fact for the jury, this Court should decline to make a

preemptory finding and deny Defendant’s motion on summary judgment on

indemnification.

                                    CONCLUSION

      Plaintiff respectfully requests that this Court deny Defendant City of

Houston’s motion for summary judgment and set this matter for trial.




                                                 RESPECTFULLY SUBMITTED,


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                                         /s/ David B. Owens
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                          CERTIFICATE OF SERVICE

       I, David B. Owens, an attorney, hereby certify that on May 9, 2018, I filed the
foregoing using the Court’s CM/ECF system, which effected service on all counsel.


                                              /s/ David B. Owens
                                              One of Plaintiff’s Attorneys




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